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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

                                            )
UNITED STATES OF AMERICA,                   )
                                            )        Case No. 4:13-CR-147
     Plaintiff,                             )
V.
                                            ))       DEFENDANT
                                                     MEMORANDUMMO IN
                                                                   HAILONG’S
                                                                     SUPPORT OF

MO HAILONG, also known as Robert            )~       MOTION INLIMINE TO
                                                     UNDUE REFERENCE  TOEXCLUDE
                                                                         CHINESE
Mo,                                          )       ETHNICITY OR NATIONALITY AND

     Defendant.                             )        TO EXCLUDECHINESE
                                                     REGARDING  EVIDENCE
                                                                       ESPIONAGE
                                                     CASES


        The Defendant, Mo Hailong, submits this Memorandum in support of his motion in

limine to exclude the undue reference to Chinese ethnicity or nationality at trial and to exclude

evidence, testimony, and argument regarding Chinese espionage cases.

                     INTRODUCTION AND FACTUAL BACKGROUND

        Public press and government discovery display an alarming number of invidious

statements and categorical assumptions about the People’s Republic of China (“PRC”), Chinese

nationals, and individuals of Chinese descent. Mr. Mo asks the Court to limit the government’s

use of Mr. Mo’s (or any other defendant’s or witnesses’) ethnicity or nationality to where

necessary, such as limited identification testimony.         The superfluous use of ethnicity or

nationality risks prejudicing Mr. Mo before his jury.

        Public press has also recently included extensive discussions of espionage and alleged

espionage targeted at U.S. interests by Chinese nationals, Chinese companies and Chinese

government agents.    This coverage includes discussion of other criminal investigations and

prosecutions of Chinese individuals. Mr. Mo asks that the Court exclude evidence, testimony,




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    and counsel statements related to any of these actual or alleged PRC espionage incidents. This

    evidence is irrelevant to Mr. Mo’s culpability and is highly prejudicial.

           A.      Public Press and U.S. Policy

           Mr. Mo is a Chinese national accused of economic espionage amidst widespread U.S.

fear of Chinese economic espionage.            See, e.g., Jeff Stein, May A Thousand Spies Bloom,

NEwSwEEK, Jan. 16, 2014 (warning against “an eruption of Chinese espionage”).’ These fears

come in tandem with public policy that comes straight from the top. In 2013, President Obama

announced a “strategy to fight back” against Chinese espionage, and “more than half of the

economic espionage indictments since 2013 have had a China connection.” See Nicole Periroth,

The Spy Who Wasn’t, N.Y. TIMES, May 10, 2015, atBUl.2

           The FBI also plays a role in asking the public to share its suspicions about Chinese

individuals.      See, e.g., Elias Groll, FBI Rolls Out Red Scare Film to Highlight Threat of

Economic Espionage, FoREIGN POLICY, July 23, 2015.~                News articles following the FBI’s

announcement of Mr. Mo’s arrest report the events as Chinese espionage. See, e.g., Christopher

Burgess, Espionage in the Heartland: Corn to China, PREVENDRA, Dec. 16, 2013;~ John Eligon

and Patrick Zuo, Designer Seed Thought to Be Latest Target by Chinese, N.Y. TIMES, February




1          http://www.newsweek.comJ2O 14/01/1 7/may-thousand-spies-bloom-245082 .html.

2          http ://www.nytimes.comJ2O 15/05/1 0/business/accused-of-spying-for-china-until-she-
wasnt.html?r=0

      http://foreignpolicy.comi2O 1 5/07/23/fbi-rolls-out-red-scare-film-to-highlight-threat-of-
economic-espionage!

           http://www.prevendra.comlespionage-heartland-corn-chinal



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5, 2014, at A12;5 David Martin, Watch: Unraveling the Great Chinese Corn Seed Spy Ring,

AMERICA TONIGHT,      Oct. 6, 2014.6 For example, a Newsweek article made the following

statements: “While the CIA is chasing terrorists across the deserts, the Chinese are chasing U.S.

brain products from coast to coast;” the “former head of the National Counterintelligence

Executive” said “most people don’t realize that part of, that [China’s] growth is fueled by a state-

run systematic program of theft, pure and simple;” “The Chinese are uncommonly clever and

patient;” “[fjollowing an eruption of Chinese espionage in Wisconsin...;” “China’s agents will

roam virtually free, vacuuming up U.S. secrets.” Jeff Stein, May A Thousand Spies Bloom,

NEwswEEK,    Jan. 16, 2014.~ Moreover, this alarmist sentiment has reached Iowa. See e.g., Chris

Bennett, Chinese Seed Thieves Hit US Farmland (“Foreign seed spies are literally crawling

around on U.S. farmland.”). Feds Hit Back, Farm Press Blog, Dec. 13, 2013; Rod Boshart,

Chinese NationalArrested in Seed Corn Conspiracy, GLoBAL GAzETTE, July 2, 2014.8

       Indeed, public sentiment and fear of Chinese economic espionage offers an explanation

for the significant publicity in this case; a case where no substantive crime was alleged, where

there are no corporate insiders passing secrets, and where there was no physical or electronic

breach of any company—the allegations consist of a complex theory that attempts to place trade

secrets among corn growing in open fields all over the Midwest, or worse, among seeds


        http://www.nytimes.com/201 4/02/05/us/chinese-implicated-in-agricultural-espionage-
efforts.html
6      http :1/america. alj azeera.comlwatchlshows/america-tonight/articles/20 14/1 0/6/unraveling-
the-greatchinesecornseedspyring.html

       http://www.newsweek.com/20 14/01/1 7/may-thousand-spies-bloom-245 082 .html
8      http ://www.thegazette.comlsubject/news/govemment/iowa!chinese-national-arrested-in
seed-corn-conspiracy-20 140702



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purchased in retail. As one former federal prosecutor explained in the context of a Chinese-

American woman falsely accused of economic espionage, “[tjhey came across a person of

Chinese descent and a little bit of evidence that they may have been trying to benefit the Chinese

government, but it’s clear that there was a bit of a Red Scare and racism involved.” Id.; Nicole

Perlroth, 22 Lawmakers Ask if Race Played Role in Espionage Case, N.Y. TIMES, May 22,

2O15,~ at B2; (asking Attorney General Loretta Lynch to determine whether race played a factor

in espionage-related charges against a Chinese-American hydrologist). Indeed, on the same day

the government charged Mr. Mo, it charged Wengui Yan and Weiqiang Zhang with conspiring to

steal rice-related trade secrets. United States v. Zhang et al., 2:13-cr-20134-CM (D. Kansas).

         B.     Use of Ethnicity and Nationality In This Case

         Mr. Mo’s Chinese ethnicity and nationality are irrelevant to any fact at issue in this

case.10 Nonetheless, the record contains numerous racially-charged witness statements. For

example:

     •   The government repeatedly referenced “Asian” people to justify a suspicion about Mr.
         Mo and others. (Criminal Complaint at~f~J 5,6,7, 10, 19, 28, 29, 31.)
     •   The case agent believed the fact that Mr. Mo and Lijuan Zhao communicated in
         Mandarin (their native language) supported probable cause in support of a search
         warrant. (SA Mark Betten’s Affidavit in Support of Warrant to Search Yahoo Email at ¶
         26.)



       http://bits.blogs.nytimes.com/20 15/05/21/members-of-congress-ask-for-review-of-
dropped-espionage-case!
10       The government has sought to inject evidence of a link between Mr. Mo’s employer,
DBN, and the Chinese government. Mr. Mo has filed two motions to ask the Court to prevent
their doing so, namely his Motion To Exclude Expert Testimony Regarding Chinese Corn
Breeding And Yield, And Intellectual Property Protection In China (Dkt. 486), and his Motion in
Limine to Exclude Evidence of DBN’s Ties to The Chinese Government, filed at the same time
as the instant motion.



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    •   Government expert agronomist Kendall Lamkey, in his first meeting with the government
        and without having been given details about the investigation, “speculated that the
        executives in question were likely from China because of their aggressive attempts to
        acquire intellectual property.” (Lamkey 2/11/13 Interview, FBI 1057, 2/12/13).
    •   Government witness Tim Schneider “speculated that the Asian males were likely trying
        to steal the corn seed for the benefit of a competitor to commit ‘industrial espionage.”
        (Schneider 1/26/12 Interview, FBI 302, 1/26/12)).
    •   Government witness Joel Thomas “was always somewhat suspicious of Robert given his
        apparent lack of knowledge concerning farming and vague answers about what he was
        doing, and the fact he was Asian who was not a native English-speaker...” (Thomas
        9/17/12 Interview, FBI 302, 9/22/12).

                                           ARGUMENT

           A. The Court Must Exclude Undue References to the Defendants’ Ethnicity or
              Nationality.

        Mr. Mo’s ethnicity and nationality are plainly not relevant to his guilt. And while Mr.

Mo’s Chinese nationality could be properly included had the government charged an offense

under 18 U.S.C.   §   1831, no similar justification exists with the charged offenses sufficient to

overcome the prejudice that follows. Any attempt to connect Mr. Mo or his co-conspirators’

Chinese nationality or descent to the likelihood of their committing the alleged illegal

activities—even indirectly—is improper and constitutes reversible error. See, e.g., United States

v. Vue, 13 F.3d 1206, 1212-13 (8th Cir. 1994); United States v. Cruz, 981 F.2d 659, 664 (2d Cir.

1992); United States v. Doe, 903 F.2d 16, 17-21 (D.C. Cir. 1990). This includes off-hand or

indirect statements related to race or nationality, as well as potentially relevant links between Mr.

Mo and his co-conspirators or other individuals based on their nationality or race. Id.; see also

United States v. Ramirez-Fuentes, 703 F.3d 1038, 1046 (7th Cir. 2013) (references to “Mexican

methamphetamine” invited the jury, albeit implicitly, to consider Ramirez-Fuentes’ s nationality

in reaching its decision in the case); United States v. Rodriguez Cortes, 949 F.2d 532, 540-42




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(1st Cir. 1991) (evidence of Colombian nationality cannot be used to show criminal association

with another Colombian).

       The government’s current evidence—which includes a number of racially-charged

assumptions and statements from witnesses expected to testify at trial— risks that even a subtle

reference to race or nationality in this case will improperly influence the jury’s decision. See,

e.g., Doe, 903 F.2d at 28 (“prosecutorial remarks kindling racial or ethnic predilections ‘can

violently affect a juror’s impartiality”). Here, existing prejudices support excluding under Rule

403 even highly relevant and otherwise admissible references to nationality and race. See Doe,

903 F.2d at 16, 22-23 (reversing a conviction based on the district court’s failure to exclude

evidence under Rule 403, and mentioning that where “the circumstances of a particular case

indicate a significant likelihood that racial bias may influence a jury, the Constitution requires

questioning as to such bias”).

       Permitting the government or witnesses to indirectly tie Mr. Mo or his alleged co

conspirators’ nationality or ethnicity to the likelihood that they committed a crime constitutes

prejudicial error of constitutional proportions. See, e.g., Vue, 13 F.3d 1206 at 1212-13 (reversing

a conviction based on the district court’s failure to exclude references to defendant’s Hmong

descent under Rule 403, because the introduction of “nationality evidence” was “highly

improper” and an error “of constitutional dimension,” which “invited the jury to put the

{defendants’J racial and cultural background into the balance in determining their guilt”); US. v.

Cabrera, 222 F.3d 590, 594, 596-97 (9th Cir. 2000) (“[a]ppeals to racial, ethnic, or religious

prejudice during the course of a trial violate a defendant’s Fifth Amendment right to a fair trial”

and “[p]eople cannot be tried on the basis of their ethnic backgrounds or national origin”).




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           B. The Court Must Exclude Evidence, Testimony and Counsel Statements Regarding
              Chinese Espionage Cases.

       The Court should not permit the government to offer any evidence, testimony, and

counsel statements related to other actual or alleged PRC espionage incidents. Such wholly

collateral information has no place in Mr. Mo’s trial and must be excluded under Rules 401, 402

and 403.

       As a threshold matter, any such evidence is irrelevant to Mr. Mo’s culpability. Mr. Mo is

responsible only for his actions, not the alleged actions of other Chinese individuals or entities—

entities and individuals who are not charged in this case.

       Moreover, using Mr. Mo’s Chinese heritage to ask the jury to find an increased likelihood

of his committing a crime is simply not permitted. Admitting evidence for this purpose—even

indirectly—is improper and constitutes reversible error.       Vue, 13 F.3d at 1212 (reversing

conviction where witness stated “primarily the opium smuggling cases we have identified or

we’ve investigated relate to Hmong individuals” and estimated that 95 percent of such cases in

the area were attributable to persons of Hmong descent); see also United States v. James, 30 F.3d

84, 85 (8th Cir. 1994) (distinguishing its case from others “where references to ethnic origin

were tied to implications of likelihood of involvement in criminal activity because of that ethnic

origin, and therefore required reversal of a conviction”).      It is an error “of constitutional

dimension, because the injection of ethnicity into the trial clearly invite[s] the jury to put the

[defendants’] racial and cultural background into the balance in determining their guilt.” Vue, 13

F.3d 1206 at 1213; see also Cruz, 981 F.2d at 663-64 (“Injection of a defendant’s ethnicity into a

trial as evidence of criminal behavior is self-evidently improper and prejudicial for reasons that

need no elaboration here.”); Doe, 903 F.2d at 17-21 (expert testimony that the retail crack and




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cocaine market in Washington, D.C. “has been taken over basically by Jamaicans” was unfairly

prejudicial under Rule 403, because it “strongly suggested that appellants were guilty because

two of them are Jamaican”).

       The risk of prejudice is high for additional reasons. Any reference to the PRC or other

Chinese actions taps into existing prejudices, including (1) significant U.S. jury bias against any

foreign litigants in intellectual property cases and (2) U.S. fears of Chinese economic espionage,

fueled by government assumptions about the likelihood that a Chinese individual will commit

trade secret theft. See, e.g., Kimberly A. Moore, Xenophobia in American Courts, GEORGE

MASON UNIVERSITY SCHOOL OF LAw, WoRKING PAPER SERIEs,                     1504-1506, 151311 (an

exhaustive 2003 study showing significant jury bias against any foreign litigant in an IP case);

Jeff Stein, May A Thousand Spies Bloom, NEWswEEK, Jan. 16, 2014;12 Elias Groll, FBI Rolls

Out Red Scare Film to Highlight Threat of Economic Espionage, FOREIGN POLICY, July 23,

2015.13 In this context, any reference that might invite the jury to consider Mr. Mo’s actions in

the context of other cases brought against other Chinese individuals or the government’s policies

must be excluded under FRE 403. See, e.g., United States v. Doe, 903 F.2d at 28.

                                         CONCLUSION

       For the reasons set forth above, Mo Hailong prays that the Court enter an order excluding

undue use of Chinese ethnicity or nationality at trial and excluding evidence, testimony, and

argument related to PRC espionage incidents.


11     http://www.law.gmu.edu/pubs/papers/04-28

12     http ://www.newsweek.comI2O 14/01/1 7/may-thousand-spies-bloom-245082.html

13     http://foreignpolicy.com/201 5/07/23/fbi-rolls-out-red-scare-film-to-highlight-threat-of-
economic-espionage!



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                                  Respectfully submitted,

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                      PROOF OF SERVICE
The undersigned certifies that the foregoing 1ins~rument was

of the attorneys listed below on         t~J   / J~
served upon the parties to this action by~ei~ng jtE~c~y upon each
                                                        , 2015, by



11   U.S. Mail                    E1    FAX

~    Hand Delivered                ~    Electronic Mail

[]   FedEx! Overnight Carrier           CM! ECF



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